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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE DESTRECT OF DELAWARE

GLENDORA D. BARKSDALE,

Plaintiff,
C.A. No.
v.
TRiAL B¥ JURY DEMANDED
AN|AZON.CONLDEDC LLC,
Defendant,
COMPLAINT
l. THE PART¥ES
i. Plaintitf Glendora D. Barksdaie is a resident of the State of Delavvare Who

resides at 202 Tayior Road, V\lilrnirigton1 DelaWare 19804.

2 Detendant Arnazon.com.dedc LLC (“Amazon”) is a domestic corporation
which may be served by serving its registered agent at Corporation Service Company,
251 i.ittle Falis Drive, Wilmingtori, Delavvare 19808.

3. At ail times relevant hereto, Amazon operated a Distribution Center at 560
l\/lerrimac Avenue, l\/liddletown, Delavvare 19709.

4. At all times relevant hereto, Amazon acted in its capacity as an “empioyer”
Within the meaning of the Americans With Disabilities Act, 42 U.S.C. §12111(5).

5. At aii times relevant hereto, Amazon acted through its employees
servants agents, or apparent agents such that it is iiabie for their conduct pursuant to the
doctrine of respondent superion

ll. JUR|SDICTEON AND VENUE
6. Piaintitf brings this action pursuant to the employment provisions of the

Americans With Disabiiities Act, 42 U.S.C. §§12101-12111, 12203 (“ADA”).

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7. Jurisdiction is conferred upon this Court pursuant to 28 U_S.C. §1331a).
This Court has suppiernental jurisdiction over the claims brought pursuant to Deiaware
statutory law pursuant to 28 U.S.C. §1367.

8. Venue lies in the federai District of Deiaware as all conduct forming the
basis of Plaintifi’s claims took place vvithin the boundaries of this District.

9. Plaintiff timely filed a Charge of Discrimination alleging disability
discrimination in the Delavvare Department of Labor (“DDOL”) and the United States
Eguai Ernployrnent Opportunity Commission (“EEOC”) on February 22, 2017.

10. On Ootober 23, 2017 Plairitift received a Final Deterrnination and Right to
Sue Notice from the DDOL. On l\iovernber 3, 2017 Plaintiff received a Notioe of Right to
Sue from the EEOC.

11. Piaintiff has exhausted ai| administrative remedies required by the
applicable statutes

Ill. ¥~'AC?UAL BACKGROUND

12. Plaintiff is physicaliy and cognitiveiy disabied.

13. On or about Aprii 4, 2004 Plaintiff suffered a biunt force trauma to her head
and spine This event triggered a cerebrai vascular accident that partiai|y paralyzed her
right side and affected her visionl An injury to her brain also caused permanent cognitive
deficits to her memory, concentration, and abiiity to focus on tasks As a result of these
injuries and deficits Plaintiff Was approved for disabiiity status through the Social Security
Administration and has remained on disability status up to the present time

14. Plaintiff remained out of Wori< until 2015 When she attempted to return to

Work for the first time since the 2004 accident On or about October 20, 2015 P|aintitf

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took a job position as a laborer for a company named Countrywide. She Was assigned
the task of cleaning out old supermarkets but the job lasted only a few Weeks.
Additionaiiy, Plaintiff obtained a job position through integrity Staffing Soiutions, a
temporary empioyment agency, Wrapping gifts at Amazon’s Distribution Center in
i\/iidd|etovvn1 Delaware during the 2015 holiday season

15. On or about February 6, 2016, P|aintiff contacted the Deiaware Division of
Vocationai Rehabiiitation (“DVR") for the purpose of seeking employment A
representative of DVR Wrote to Piaintiff’s primary care physician requesting a copy of her
records or “brief note regarding head injury & any related issues and/or |imitations”.

16. On or about August 9, 20t6 Amazon hired P|aintiff into the position of
Fuifillment Associate at its Distribution Center in iVliddletoWn, Delaware. The job
description for the position of Fulfillment Associate states that “[t]he ideal candidate
possesses a strong Work ethic1 attention to detai|, abiiity to meet deadiines, and a
commitment to customer service as it relates to product fulfillment". The Work
environment for the job description is described as a “[v]ery fast pace environment".
Amazon assigned Plaintiff to Work in the AFE Department.

17_ The Work F’laintiff Was assigned to perform in the AFE Department invoived
reading an order of merchandise items on a large screen, selecting an appropriate size
box, packaging the items and dunning in the box, appiying the correct mailing iabei to the
box, and then placing the box on a moving belt. lnitially, Plaintiff had no trouble
compieting these tasks, but vvith more time on the job the AFE rate guideiine for
completed packages increased to a range of 180 to 200 packages per ten-hour shift.

Piaintiff found it increasingly difficult to meet this rate over the iast several hours of her

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ten-hour shift. Piaintiff expressed these concerns to her supervisor but nothing changed
instead she Was repeatedly told that she Was not meeting the rate requirement |n eariy
November of 2016 Plaintiff spoke with General Nlanager Brian Jones who directed her to
the i-luman Resources (“l~iR”) office to discuss “accommodations”.

18. On or about November 7, 2016 Plaintiff met with personnel in Amazon’s HR
Department She again expressed her concerns about the job position in the AFE
Department The HR Department provided her with a number of forms for Plaintifi and
her healthcare provider to completel She was toid to go home and not return to work until
directed to do so.

19. On November 15, 20161 Piaintiff’s primary care physician_Dr. Kar|a
`l“esta-compieted and signed the medical forms Amazon had requested Dr. Testa
informed Amazon that Piaintiff had a permanent physical or mentai impairment that
interfered with her ability to focus and concentrate in a fast~paced setting after eight hours
of work. Dr. `i'esta recommended that Plaintiff be assigned to a shorter shift or,
alternatively, to a job position that required a iess stressfui pace over the last two to three
hours of the shift These medical forms were teiefaxed to Amazon on November 16, 2016
at approximately t1;12 a.m. Despite receiving this input from Plaintiff’s physician Amazon
never offered to piace Piaintiff in a position with a shorter shift or less stressfui pace over
the last two hours of the shift

20. Plaintiff heard nothing further from Amazon about her request for
“accommodations” until November 30, 2016. ln the interim, Plaintiff received a notification
through the company’s messaging system that she was being disciplined for not meeting

the AFE Department’s rate guideiine_

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21. On or about November 30, 2016, Jessica Schutzenhofer in Amazon’s HR
Department cailed Plaintiff at home to discuss “accommodations”. l\/ls. Schutzenhofer
asked Piaintiff what kind of work she Was interested in doing. Plaintiff responded that she
did not know the kind of work that was avaiiab|e to her and that the oniy other work she
Was famiiiar with at Amazon was giftwrapping. Ms. Schutzenhofer mentioned the iCQ/-\
Department as an alternative, but Piaintiff knew nothing about the work performed in that
Department lVis. Schutzenhofer ended the conversation by telling Plaintiff she would
contact her again on Thursday, December 1, 20i6.

22. At approximately 7:00 p_m. on Thursday, December 1, 2016 lVls.
Schutzenhofer caiied Piaintiff to tell her to report to the HR Department at 7:30 a.m. on
Friday, December 2, 2016. VVhen Piaintiff arrived at that time |Vls. Schutzenhofer offered
Plaintiff a transitional Work assignment (“TVV ”). The TVVA Was for a temporary
assignment as a Fulfi|iment Associate on a ten-hour shift in the ICQA Department
beginning on December 2, 2016 and ending on February 2, 2017. The Written offer stated
that “Amazon wiii assume that you have accepted this offer and you Wili begin working
under the TVVA on the start date listed above [December 2, 2016]", but that if Piaintiff did
not accept the offer “...you must contact Accommodations or i-lR within two days of your
receipt of this letter or the start date of your TVVA, whichever is earlier". At the time the
offer Was made Plaihtiff had no understanding of the Work she was to perform in the lCQA
Department or that it was a temporary assignment

23_ At the conclusion of the meeting with i\/ls. Schutzenhofer, P|aintiff was
directed to go to the Learning Center, but when she arrived there she was toid to report

to her new assignment in the iCQA Department Upon her arrivai in the lCQA Department

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a male employee asked her Why she was there When Plaintiff tried to expiain the
situation a female empioyee (Whom Plaintiff believes was a supervisor or manager in the
lCQA Department) informed her that according to the computer system she Was stiil
registered in the AFE Department and directed to her go back to the HR Department
Plaintiff again returned to the HR department where she was told to go home to await a
further phone cail.

24. Plaintiff received no phone cali during the balance of Friday, December 2,
2016. This caused her great concern about her empioyment status, so on the morning
of Saturday1 December 3, 20t6 she reported to the HR Department Once again, she
was toid to go horne by a male employee who said he had not received any information
about her work status from Ms. Schutzenhofer. She was to wait for a phone cail.

25. F’|aintiff received no further communication from anyone at Amazon from
December 3 through December 9, 2016. This was extremely upsetting to her. On
December 9, 2016 Plaintiff went to the DDOi_ to discuss these circumstances with an
investigator as she did not know what else to do.

26. On December 12, 2016 Plaintiff received an e-mail from James Digan in
Amazon’s HR Department informing her that her UPT time was at minus 10.00 hours and
that, pursuant to company poiicy, she was eligibie for termination. The e-maii conciuded
by stating “lf | do not hear back from you by Tuesday, December 13th at 3:00pm, i wiil
acknowledge your lack of communication as your resignation”. This e~mail again caused
Plaintiff a great deal of stress and anxiety. On December 13, 2016 Piaintiff responded to
i\/ir. Digan’s e~mail by informing him that she had never missed any scheduled time from

work, had never even been late to Work, and had not yet been placed in a newjob position

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She wrote: “i need myjob, that’s why l sent for help with Acoommodations to assure that
t couid keep my job. l need to know when and what department to show up for work ali i
have been doing is waiting".

27. On or about December 16, 2016 Plaintiff Was directed to return to work in
the iCQA Department The job position involved inventory security Where empioyees
opened packaged boxes to ensure that the correct number and type of merchandise items
had been piaced in the boxes. Plaintiff received iittie to no training for this position
i\/|oreover, she learned that the position had an even higher rate guideline of 600
packages per ten-hour shift. On December 17, 2016 Plaintiff submitted to the HR
Department a handwritten request for ajob position Without a rate guideline She received
no response to this request. Plaintiff iast Worked in the |CQA Department on December
24, 2016.

28. On or about December 31, 2016 Plaintiff went onto Amazon’s empioyee
website to submit a further online request for “accommcdations”. Again she received no
response to this request

29. On January 6, 2017 Plaintiff sent an e-maii to Ms. Schutzenhofer expressing
her frustration that the rate guideline in the lCQA Department was higher than the rate in
the AFE Department and that she needed a job position that had a tower rate She
requested additional time to research and identify an appropriate position. Plaintiff noted
that she had used up all her extra paid time and Was about to spend her vacation time as
Well. She conciuded the e~mail by writing: “Now i’m going through some anxiety and
panic attacks which aren’t good but controiiabie With time and therapy". Plaintiff never

received a response to this e-maii communicationl

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30. On January 10, 2017 P|aintiff received another e-mail communication from
Amazon’s l-iR Department informing her that her UPT time balance was at minus 9.00
hours and that, per company policy, she was eligibie for termination On January i7,
2017, Plaintiff received yet another e-mail from Amazon’s l-lR Department informing her
that her UPT balance time was now at minus 49.00 hours and, once again, stated that
she was eligible for termination These e-mail communications caused Plaintiff additionai
emotional distress and anxiety.

31 On or about February 23, 2017 P|aintiff received a ietter from Amazon
confirming that on January 19, 2017 it had received her claim for short-term disabiiity
benefits beginning on December 31, 2016. Plaintiff never applied for, nor did she ever
intend to apply for short~term disability benefits Her only request was for an
accommodation to her disability so she could continue working at Amazon.

32. On or about February 22, 2017 Piaintiff returned to the DDOL for the
purpose of signing and filing a Charge of Discrimination against Amazon for disability
discrimination This followed upon the initial meeting Piaintiff had attended at DDOL on
December 9, 2016. On or about February 23, 2017, the DDOi_ maiied to Amazon a copy
of the Charge of Discrimination. Upon information and belief Amazon received the
Charge of Discrimination within several days thereafter.

33. On or about February 24, 2017 Piaintiff received a letter from Amazon
informing her that her request for medicai ieave of absence and leave under the Family
l\/iedical i_eave Act had been denied Again, Plaintifi never applied for, nor did she ever
intend to apply for, any leave of absence benefits The ietter went on to state that if she

required an accommodation she was to “contact the Leave of Absence and

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Accommodations (LOAA) team”. This letter caused Piaintiff additional stress and anxiety
as she had been requesting “accommodations” since November 7, 2016.

34. On or about l\/larch 3, 2017, Plaintiff received a letterfrom Amazon informing
herthat her claim for short-term disability (STD) benefits had been denied Again1 Plaintiff
never applied for, nor did she ever intend to apply for, short-term disability (STD) benefits

35. On or about Aprii 23, 2017, Plaintiff submitted an application for
unemployment insurance benefits as she had received no income since December 24,
2016 and no response to her repeated requests for “accommodations”. Amazon
responded to this application by claiming that Plaintiff Was stiil employed by Amazcn and
was currently on medical leave Based on this false statement Plaintiff’s application for
unemployment insurance benefits was denied in a Notice of Determination dated Nlay 16,
2017_ Plaintiff took a timely appeal from the Notice of Determination. A hearing on her
appeal was scheduled for June t2, 2017. Despite receiving notice of this hearing no one
from Amazon appeared to defend the appeai. The decision to deny Plaintiff
unemployment insurance benefits was reversed in a Referee’s Decision dated June 14,
2017.

36. The process employed by Amazon to respond to Plaintiff’s request for a
reasonable accommodation beginning on November 7, 2016 created for Plaintiff an
extreme degree of frustration, anxiety, sleep|essness, panic attacks and sense of
hopeiessness. As a result Plaintiff has sought medical care and treatment

37. Plaintiff has received rio offer of employment from Amazon since December
24, 2016.

COUNT l
ADA DlSCRlNliNATiON CLA|N|

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38. Plaintiff hereby incorporates the allegations set forth in paragraphs 1
through 37 above as if fully restated herein

39. At all times relevant hereto, Plaintiff was disabled within the meaning of the
Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2)(A).

40. At all times relevant hereto, Amazon was an employer within the meaning
of the ADA, 42 U.S.C. §12111(5).

41. At all times relevant hereto, Plaintiff was otherwise qualified to perform the
essential functions of the job position of Fulfillment Associate With orwithout a reasonable
accommodation

42. Piaintiff requested a reasonable accommodation for her disability

43. Amazon discriminated against Plaintiff on the basis of her disability in
violation of the AD/-\, by denying her request for an accommodation and thereafter
discharging her from her employment

44. Amazon further discriminated against Plaintiff and violated the ADA by
failing cr refusing to engage in a meaningful interactive process as mandated by the ADA.

45. Amazon further violated the ADA by intentionally and willfully terminating
Plaintiff’s employment on the basis of her disability

46. As a direct and proximate result of Amazon’s statutory violations Plaintiff
suffered injury and a deprivation of her federal rights for which she seeks compensation
in the form of compensatory damages for her physical pain and suffering, emotional pain
and suffering, mental anguish1 and humiliation, special damages punitive damages back
pay, front pay, attorneysl fees expert witness fees pre- and post-judgment interest and

the costs of this action

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COUNT ll
ADA RETALlATiON CLA|N|

47_ Plaintiff hereby incorporates the aiiegations set forth in paragraphs 1
through 46 above as if fully restated herein

48. At all times relevant hereto1 Plaintiff was disabled within the meaning of the
Americans with Disabilities Act (“/-\DA”), 42 U.S.C. §12102(2)(/\).

49. At all times relevant hereto, Amazon was an employer within the meaning
of the ADA, 42 U.S.C. §12111(5).

50. At all times relevant hereto, P|aintiff was otherwise qualified to perform the
essential functions of the job position of Fulfillment Associate with or without a reasonable
accommodation

5t. Plaintiff requested a reasonable accommodation for her disability, an
activity protected by the ADA. Amazon retaliated against Plaintiff by discharging her from
her employment and opposing her claim for unemployment insurance benefits on false or
fictitious grounds.

52. As a direct and proximate result of Amazon’s statutory violations P|aintiff
suffered injury and a deprivation of her federal rights for which she seeks compensation
in the form of compensatory damages for her physical pain and suffering, emotional pain
and suffering, mental anguish, and humiliation, special damages punitive damages back
pay, front pay, attorneys’ fees expert witness fees pre- and post-judgment interest, and
the costs of this action

COUNT lil
DELAWARE DlSABlL|TY DlSCRIN!|NATlON CLA|N|

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53. Piaintiff hereby incorporates the allegations set forth in paragraphs 1
through 52 above as if fully restated herein

54. De|aware’s Persons with Disabilities Employment Protection Act, 19 Dei. C.
§720, et seq. (“the Act”), prohibits an employer from discriminating against an employee
on the basis ofthe employees disability

55. At all times relevant hereto, Piaintiff was a person with a disability within the
meaning of l9 Dei. C. §722(4).

56. At ali times relevant hereto1 Amazon was an employer which employed
Piaintiff within the meaning of 19 Dei. C. §722(3).

57. Amazon unlawfully discriminated against Piaintiff on the basis of her
disability in violation of 19 Dei. C. §724.

58. As a direct and proximate result of Amazon’s statutory violations Piaintiff
suffered injury and a deprivation of her statutory rights for which she seeks compensation
in the form of compensatory damages for her physical pain and suffering, emotional pain
and suffering, mental anguish, and humiliation, special damages punitive damages back
pay, front pay, attorneys’ fees expert witness fees pre- and post-judgment interestl and
the costs of this action

COUNT V
DELAWARE RETALlATlON CLAIN|

59. Piaintiff hereby incorporates the allegations set forth in paragraphs 1
through 58 above as if fully restated herein

60. 19 Dei. C. §726 prohibits an employer form discriminating against a person
a disability because the person has participated in proceedings to enforce the provisions

of the Act.

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61. At all times relevant hereto, Piaintiff was a person With a disability within the
meaning of 19 Dei. C. §722(4).

62. At all times relevant hereto, /-\mazon was an employer which employed
Piaintiff within the meaning of 19 Dei. C. §722(3).

63. On or about December 9, 2016 Piaintiff went to the DDOL to file a
discrimination complaint On or about February 22, 2017 Piaintiff returned to the DDOL
for the purpose of signing and filing a Charge of Discrimination against Amazon. Upon
information and belief Amazon received its copy of the Charge of Discrimination within
several days after it was mailed to it.

64. Amazon retaliated against Piaintiff by discharging her from her employment
and opposing her claim for unemployment insurance benefits on false or fictitious
grounds

65. As a direct and proximate result of Amazon’s statutory violations Piaintiff
suffered injury and a deprivation of her statutory rights for which she seeks compensation
in the form of compensatory damages for her physical pain and suffering1 emotional pain
and suffering1 mental anguish, and humiliation, special damages punitive damages back
pay, front pay, attorneys’ fees expert witness fees pre- and post-judgment interest, and
the costs of this action

COUNT V
BREACH OF |iVlPLlED COVENANT OF GOOD FAiTH AND FA|R DEAL|NG

66. Piaintiff hereby incorporates the allegations set forth in paragraphs 1
through 65 above as if fully restated herein
67. Every contact for employment in the State of Delaware carries with it an

implied covenant of good faith and fair dealing

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68. Defendant breached the implied covenant of good faith and fair dealing by:
(a) terminating Piaintiff’s employment or discharging her without any
credible orjustifiab|e basis in fact;
(b) falsified manipulated or created a basis for terminating Plaintiff’s
employment or discharging her that was not based in fact;
(c) abandoned ignored, or dismissed her during the period of time that
she was requesting a reasonable accommodation for her disability;
(d) directed inaccurate or baseless communications accusing her of
violating the company’s attendance policy;
(e) submitted to a government agency false, fictitious or baseless
grounds for opposing her lawful claim for unemployment insurance benefits and,
(f) otherwise breached the covenant as further discovery may
demonstrate
69. As a direct and proximate result of Defendant’s conduct, Piaintiff has
suffered and will continue to suffer in the future mental anguish, emotional distress
extreme frustration, anxiety, panic attacks humiliation and upset
70. As a further direct and proximate result of Defendant’s conduct, Piaintiff has
suffered a diminution in and loss of income
71. As a further direct and proximate result of Defendant’s conduct Piaintiff has
incurred and will incur in the future the costs and expenses associated with the
prosecution of this action, including but not limited to her attorneys’ fees
WHEREFORE, Piaintiff Glendora D. Barksdale demands judgment in her favor

and against defendant Amazon.com.dedc Li_C, and prays that this Court:

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(a) enterjudgment against Amazon.com.dedc LLC;

(b) enter a declaratory judgment declaring that the acts of defendant
Amazon.com.dedc LLC violated Piaintiff’s federal and State rights

(c) enter a judgment against defendant Amazoncom.dedc LLC for
compensatory damages including compensation for lost wages back pay, front pay, lost
employment benefits and other economic losses physical pain and suffering, emotional
pain and suffering, mental anguish and humiliation;

(d) enter a judgment against defendant Amazoncom.dedc l_l_C for
punitive damages

(e) award Piaintiff her reasonable attorneys’ fees;

(f) award Piaintiff her expert witness fees;

(g) award pre-judgment and post-judgment interest as appropriate

(h) award the costs of this action;

(i) enter an Order for such other further relief as the Court deems just

and proper under the circumstances of this action

TYBOUT, REDFE RN & PELL

   

 

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